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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    WESTERN DIVISION
FREDA TAYLOR                                                              PLAINTIFF

   v.                           CASE NO: 4:14CV00303-JM

ASSOCIATION OF ARKANSAS COUNTIES                                         DEFENDANT

 MOTION FOR EXTENSION OF TIME TO RESPOND TO MOTION FOR
                  SUMMARY JUDGMENT

        Comes now the Plaintiff and moves the court for an extension of time to

respond to the motion for summary judgment and states:

        1. On January 13, 2016, defendant filed a motion for summary judgment.

        2. The time to file a response has not yet passed.

        3. On January 29, 2016, plaintiff filed a voluntary notice of nonsuit

pursuant to Fed. R. Civ. P. 41.

        4. The plaintiff is awaiting entry of the Order of non-suit.

        5. That given there is a pending voluntary notice of nonsuit, plaintiff

asserts that this is good cause for the motion for extension to be granted.

        6. This motion is not made for the purpose of delay but is in the best interest

of justice.

        7. In light of the foregoing, plaintiff requests an extension.

        WHEREFORE the Plaintiff prays that the Motion be granted and for all

other proper and just relief.

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                                            Respectfully submitted,

                                            /s/Teresa Bloodman# 2005055
                                            Attorney for Plaintiff
                                            P.O. Box 13641
                                            Maumelle, AR 72113
                                            Telephone: (870) 550-1940
                                            teresabloodman@yahoo.com


                                     CERTIFICATE OF SERVICE

I, Teresa Bloodman, hereby certify that on this 31st day of January 2016, I electronically filed
the foregoing with the Clerk of Court using the CM/ECF System, which will send notification of
such filing to all CM/ECF participating counsel of record:

William Stuart Jackson
Regina A. Young
Attorneys for Defendant
WRIGHT, LINDSEY & JENNINGS LLP
200 West Capitol, Suite 2300
Little Rock, AR 72201-3699
Telephone: (501) 371-0808
www.@wlj.com
ryoung@wlj.com                                             /s/Teresa Bloodman




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